                                ___________________
                                ___________________




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          1             IN THE UNITED STATES DISTRICT COURT

         2                  FOR THE DISTRICT OF MONTANA

         3                       MISSOULA DIVISION

         4    EDWARD NICK CARVEY and ESTHER
              M. CARVEY, husband and wife,         ) Cause No,
         5                                         ) CV-98-142-M-DwM
                         Plaintiffs,
         6
                   vs
         7
              W.R. GRACE & CO.-Conn, a
         8    Connecticut corporation, EARL 0.
              LOVICK and DOES I-IV,
         9
                         Defendants.
     10




     11       EDWARD NICK CARVEY and ESTHER        ) Cause No.
              M. CARVEY, husband and wife,         ) CV-99-104-M-LBE
     12
                         Plaintiffs,
     13
                   vs
    14
              W.R. GRACE & CO. -Conn, a
    15        Connecticut corporation, W.R,
              GRACE & CO., a Delaware
    16        corporation, W.R. GRACE, a/k/a
              GRACE, an association of
    17        business entities, MONTANA
              VERMICULITE COMPANY, a Montana
    18        corporation (diso1ved), EARL 0.
              LOVICK and DOES I-IV,
    19
                        Defendants.
    20

    21                          VIDEO DEPOSITION

    22                                 OF

    23                          EDWARD NICK CARVEY
                           (On Behalf of the Plaintiffs)
    24
                Reported by Debra M. Hedman, RPR,     RMR, and Notary
    25           Public for the State of Montana,     Flathead County
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          2

          3                    Taken at the Venture Inn
                                   443 Highway 2 West
         4                           Libby, Montana
                              Wednesday, December 15, 1999
         5                             10:09 a.m.

         S

         7

         8                       APPEARANCES

         9

     10       APPEARING ON BEHALF OF THE PL?NTIFFS:

     11            John Lacey, Esq.
                   McOarvey, Heberling, Sullivan & Mccarvey
     12            745 South Main
                   Kalispell, Montana 59901
     13

     14
              APPEARING ON BEHALF OF THE DEFENDANT:
     15
                   Terry J. MacDonald, Esq.
     16            David Berkoff, Esg.
                   Garlington, Lohn & Robinson, PLLP
     17            P.O. Box 7909
                   Missoula, Montana 59807-7909
     18

     19       ALSO PRESENT:

    20             Matt Scotten, Videographer
                   Video Data Services of Montana
    21             Whitefish, Montana 59937
                   406-862-0875
    22

    23

    24

    25
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                                                                          20



          1    ‘70s.

          2            Q    Okay.   And when you said you worked in the

          3   woods, what kind of work specifically did you do?

          4            A    I was a timber faller.   Always a timber
          5   faller.

         6             Q    Are some of your kids still logging today?

         7             A    They are.

         8             Q    Do you remember when you retired from

         9    logging?

     10            A        It was about ‘95 or ‘96 I retired

     11       altogether.      I’ve been semiretired for, oh, hell,

     12       ten years,     I guess.

     13            Q        Okay.

     14            A       But not completely.   I would go out and

     15       work some, you.know.

     16            Q       Do you remember how old you were when you

     17       stopped logging for good?

     18            A       About ‘95, I was about 76   --   74,   75.
     19            Q       And you were still able to do a lot of

     20       that work?

    21             A       Now?

    22             Q       At the time that you retired?

    23             A       Not a lot, but I managed to do it, yeah.

    24             Q       I’d like to talk specifically now about

    25        the experience you had working at Zonolite.           Can you
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                                                                                   21



          1   tell us how old you were when you started at

          2   Zonolite?

          3            A    I was nineteen or twenty.

         4             Q    Do you remember why you went to go to work

         5    at Zonolite?

         S             A    Yes,   I kind of    --   It was a   -   -   I always

         7    wanted to go to Alaska and have a fishing boat,

      8       but my mother,       she knew the superintendent, so she

      9       got me a job down at       --    up at the Zonolite so I

     10       wouldn’t get killed.        And it killed me anyway,

     11       eventually, but      --




     12            Q        She didn’t want you to go to Alaska?

     13            A        No, she didn’t want me to go to Alaska.

     14       She was afraid I would get killed or drowned or

     15       something.      So she was one of the instigators of me

     16       getting the job at Zonolite.

     17            Q       And you agreed?

     18            A        I agreed.

     19            0       What was your first job at Zonolite?

     20            A       It was always the same.         I worked on the
     21       top floor, greasing and just watching and keeping

     22       the mill running and cleaning up at the end of the

    23        shift,

    24             Q       When you say “the top floor,” do you mean

    25        the top floor of the mill?
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                                                                                    22



          1             A      The top floor of the mill,         right.
          2             Q      Nick,   I would like to direct your

         3    attention to this photo here, Exhibit 127.                   Can I
         4    ask you to show that to the camera?                 Does that   - -




         S              A      Yeah, that’s basically as I remembered.

         6              Q      That’s the mill about the time that you

         7    were there?

         8              A      That’s basically   --      As I remember it,

         9    that’s about the way it looked.

     10                 Q      Okay.   How about this photo?        Does that       --




     11       It’s Exhibit 2-26.          Is that also       --




     12                 A      Yeah, that’s basically the same, too.

     13                 Q      Can I ask you to show that to the camera.

     14                 A      Oh.

     15                 Q      Can you point out the mill on there?

     16                 A      Yeah, right down there is the mill.

     17       This      --   There is a big bin up here and the mill is

     18       down here (indicating).

     19                 Q     So it’s there on that side, on the left?

    20                  A     Yeah, on the left   -   -   On the right would
    21        be   --




    22                  Q     Oh, on the right.       I’m sorry.

    23                  A     On the right would be the mill, yeah.

    24                  Q     Okay.

    25                  A     This is the big bin up here where the
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                                                                                      23



         1   trucks dumped the ore into the grizzly or whatever

         2   you want to call it.

         3           Q         So when you were on the top floor,           the ore
         4   was coming in           --




         5           A         Right.

      6              Q         --   to the mill?

      7              A         It came in in the elevators and        --   It

      8      went up and down stairs, I don’t know, two or three

      9      times       --   different times, and where they dried it

     10      and where it went through screens and sized it, you

     11      know.        I don’t remember exactly how many elevators,

     12      but it went from the top to the bottom and back up

     13      to the top to the bottom two or three times.

     14              Q        Okay.       Thank you.   Was the mill a dusty

     15      place to work?

     16              A        It was dusty.

     17              Q        Can you describe the dust conditions that

     18      you remember?

     19              A        Well, I can remember sometimes we had              --




     20      near the end of shift it would be three,               four,       five
    21       inches of dust all over the floor.               Sometimes you
    22       couldn’t see all the way across the mill hardly.

    23       Other times it weren’t that bad.               I don’t know what

    24       the--

    25               Q        Could you       -
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                                                                             24



          1         A     But there was always lots of dust.

          2         Q     Could you see the dust in the air?

         3         A      Oh, yeah.

         4         Q      Did you say before that part of your job

         5    was to clean up some of the dust?

         6         A      Yes.    You swept the floor every night.

         7    You cleaned up your floor.

         8         Q      So every night       - -




         9         A      At the end of the shift.

     10            Q      How did you clean the dust?

     11            A      Well, you had a big push broom and you

     12       swept it with that and then you shoveled it down the

     13       chute.    I’m not real sure where it went, but I think

     14       it went down   -    I think they skipped it down the

     15       hill and hauled it off somewhere, but I’m not

     16       positive of that.

     17            Q     Was there a ventilation system in the mill

     18       when you worked there that you remember?

    19             A     Just    --




    20             Q     I’m sorry.

    21             A     Huh?

    22             Q     Was there a ventilation system in the mill

    23        that you remember when you worked there?

    24             A     I don’t      --   Seemed like after the war there

    25        was some kind of a ventilation         --   a dust collector
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                                                                            25



          1    or something there, but before the war,           I don’t
          2   know.

          3           Q    Was it specifically your job to clean up

         4    the dust or were there other people who            —   -




         5            A    Everybody did their own floor.

         6            Q    So you were responsible for the top floor?

         7            A    I was responsible for the top floor.

         8            Q    Do you remember whether some days produced

         9    more dust than other days?

     10               A    There were.       Some days was real bad and

     11       sometimes not that bad.

     12               Q   Do you remember whether that was a

     13       function of anything in particular?

     14               A   No, I don’t.

     15               Q   Did you get covered with dust when you

     16       were sweeping?

     17               A   Did.     We did.

     18               Q   How did you get the dust off of you?

     19               A   Well, mostly we just      --   we would get down
     20       there and we would take our hats or          --   we mostly all
    21        wore stocking hats or a hat and just beat it off

    22        whenever we   ---   before we got in the cars and rode

    23        home.

    24                Q   Did you have any other duties in the mill

    25        besides sweeping and cleaning up the top floor?
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                                                                                     26



          1            A      Well,    if something broke down,           like the
          2    elevators or something, they stopped, the ore would

          3    keep coming in and plugging it and everybody that

         4    was on the shift          -   -    even the skip operator came and

         5    we cleaned them out and got the mill running as soon

         6    as possible.

         7            Q       was the mill running for most of the time

         8    that you were in it?

         9            A      Oh, yeah           --   Only when something was broke

     10       down,       it ran 24 hours a day when we were running it,

     11       three shifts.

     12               Q      How long was your shift?

     13               A      Eight hours.

     14               Q      Did you ever work outside of the mill?

     15               A      Just going up intO the big bin or the

     16       grizzly.       In the winter it would freeze to the sides

     17       and then everybody would have to go                  --   Well, not

     18       everybody, but two or three of us would go up there

    19        and they had bars and shovels and we would hack at

    20        it until it came down and got back onto the grizzly

    21        or went into the mill.                  And that’s about the only

    22        place I worked outside.

    23             Q         How long would that usually take when you

    24        had to do that?

    25             A         Well,    just depended on how bad it was.
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          1   Sometimes most of the night,          if it happened to be

          2   25,   30 below zero or something,       it could come down

          3   the hill and be kind of damp,         that ore,   and it would

          4   freeze to the side and you would have to keep

          5   breaking it down.

          6         Q     How often would you say that happened as

          7   far as days per week, maybe?

      8             A     Oh,   some winters   --   sometimes two or three

          9   times a month,      just depended on how cold it was.

     10             Q     Okay.    When you were hired at Zonolite,

     11       did the company warn you that the dust could be

     12       harmful to you?

     13             A     No.

     14             Q     When you were hired,       did the company warn

     15       you that asbestos could harm you?

     16             A     No.

     17             Q     When you were hired at Zonolite, did any

     18       of the other workers ever warn you about the dust or

     19       the asbestos?

     20             A     No.

     21             Q     Did you ever see any signs about dust or

     22       asbestos?

     23             A     Not that I can recall.        I don’t know.

     24             Q     Did your supervisors ever warn you that

     25       the dust could harm you?
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                                                                                28



          1            A    No.

          2            Q    Do you remember any other workers talking

          3   about the dust when you worked there?

          4           A     Oh, we sometimes, when we would get down

          S   the bill, we’d say it was dirty as hell or

          S   something, and knocking the dust off, you know.

          7   Sometimes we would say it was a lot worse than other

          8   nights, you know.        But that’s about as far as it

          9   ever went.

     10               Q     Did you or any other workers ever complain

     11       to the company or your supervisors about the dust?

     12               A     I   never did.    I don’t know whether the

     13       other workers did or not, but I never.

     14               Q     Were you aware when you worked there that

     15       there was asbestos present in the mill and at the

     16       mine?

     17               A     I was aware that there was asbestos

     18       because it would plug up the crushers all the time

     19       and that’s usually what stopped the mill.

     20               Q     And you knew that that was asbestos?

     21               A     Yeah, that’s what they had        --    Sometimes
     22       they would come off the hill and tell us that there

     23       was a lot of asbestos coming down.

     24            Q       At the time that you knew that asbestos

     25       was present there, did you know that asbestos was
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                                                                                  43



          1   BY MR. LACEY:

          2         Q    Nick, again, you can talk about your

          3   understanding of your conversation with Dr. Ivy

          4   about your breathing problems.

          5        A     Not fully discussed what was really

          6   causing it, no.

          7        Q     Okay.     Have you seen any lung specialists?

       8           A     I went to see Dr. Whitehouse in Spokane.

          9        Q     What kinds of tests did you undergo when

     10       you went and saw Dr. Whitehouse?

     11            A     Well,   let’s see, he took x-rays and then

     12       he put me in a glass cage, and he turned up the heat

     13       and turned down the heat, and you breathed, and then

     14       you went and rested       -   -   took some kind of medicine

     15       and rested for a while, and then I went back and

     16       went through it again.

     17            Q     Do you recall the results of those tests?

     18            A     He said   --       Let’s see, he said there was no

     19       doubt that you have an asbestos problem.

     20            Q     Did you discuss your condition with

     21       Dr. Whitehouse?

     22            A     He discussed it with me.            He said there is
     23       no known cure.     And he said,         Come back in   -   -   He
     24       said, I’d like to see you in a year or so, but I

     25       never did go back.        Cost me a couple hundred bucks,
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                                                                                  44



           1   and he said there wasn’t nothing they could do about

           2   it anyway, so         -   -




           3           Q         What was your reaction when you were first

          4    diagnosed by Dr. Whitehouse with an asbestos

          5    disease?

          6            A         Well, I knew that eventually it was going

          7    to kill me, and I didn’t really feel very good about

          8    it, no.          But I really   --   Reaction at that time?    I
          9    --   I don’t know as I really had too much reaction.

      10       It was just kind of a thing like you said, well, you

     11        have got it and you ain’t going to get over it and

     12        you’re going to have to live with it until you die,

     13        and so I kind of accepted it.

     14                Q         What’s your understanding about how your

     15        condition is going to progress?

     16                A         Well, right now the understanding      is if I
     17        live for another three, four,            five years,   I’ll be on
     18        oxygen by then.

     19                Q         Have you talked with doctors about      --




     20                A         I’ve talked to Dr. Cash about it, my heart

     2].       doctor, right.

     22                Q         And they suggested in about three or four

     23        years       --




     24                A         She suggested probably within the next

     25        three or four years, if I live that long,              11 be on
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                                                                              45



          1   oxygen.

          2        Q       Are you noticing that your breathing

          3   problems are continuing to get worse?

      4            A       Ido.

      5            Q       What kinds of things do you notice?

      6            A       Well,   I notice   --   I used to be able to

      7       load my John boat which weighs 40 pounds and pick it

      8       up and put it in there, and now I’m putting it in

      9       there one end at a time.        By the time I get it in

     10       the back of my pickup I got to hang on to the side

     11       there and get some breath before I can get up around

     12       the pickup to go again.

     13                    Like, if I go up the stairs there on the

     14       thing there, by the time I get over to the table,

     15       that’s about it.

     16            Q       Had you noticed those problems about a

     17       year ago?

     18            A       I noticed them a year ago but they weren’t

     19       as bad.     Two years ago they weren’t as bad, but         --




     20            Q      Do you have any coughing problems?

     21            A      Do I have what?

     22            Q      Any coughing problems?

     23            A      Ido.

     24            Q      What kinds of stuff causes you to cough?

     25            A      Just naturally just builds up       - -   fluid or
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          1   something builds up in my lungs and I have to cough

          2   itup.

          3         Q     Can that be severe at times for you?

      4            A      Huh?

      5             Q     Do you have a severe cough at times?

      6            A      Sometimes it won’t come loose and then you

      7        (gesturing)   --   That’s when it’s bad.   If it’s coming

      8       up easy,   like it is today, well, it’s not that bad,

      9       but some days it won’t come up that easy.

     10            Q      Nick, have you ever had a heart attack?

     11            A      Well,   there is a question about that.    I
     12       fell over unconscious one time, but when I got down

     13       to the hospital and they run me through all them

     14       tests, and I asked my heart specialist,      he said, I’m

     15       not sure you had a heart attack.

     16            Q      After that happened, did you begin to see

     17       a heart doctor and get some treatment for your

     18       heart?

     19            A      Idid.

     20            Q      What kinds of things happened    -   -




     21            A      They put in a pacemaker.

     22            Q      Do you know why you got a pacemaker?
     23            A      I had a slow heartbeat,    he said.

     24            Q     Did you notice that the pacemaker helped

     25       you feel better?
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      1    kinds of medication you have        --




      2         A       I have two breathing medicines I take      -   -




      3    inhalers.     And then I take Coumadin,      a blood

      4    thinner.     And then I take a Zantac for a gas

      5    situation.

      6         Q       Do those medications, specifically the

      7    breathing ones, do they help you to breathe a little

      8    bit easier?

      9         A       They do loosen it up.       It makes that stuff

     10    come up a little easier, you know.

     11         Q       And when do you use the inhalers?

     12         A       Well,   one of them I use twice a day,    two

     13    puffs in the morning and two at night.         And then I

     14    have the little one I carry with me, whenever I get

     15    breathing bad, that I can use any time I want to.

     16         Q       Are you finding that you use those any

     17    more than you used to?

     18         A       I didn’t hardly   --   hardly just use this

     19    one here at all a couple years ago, but lately it’s

     20    four or five times a day now, maybe more some days.

     21         Q       What kinds of activities these days make

     22    you short of breath?

     23         A       What?

     24         Q       What kinds of activities these days make

     25    you short of breath?
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       1           A     Just about anything.     Even if I walk

       2    from   --   fifty feet or a hundred feet,    if I speed

       3   up, then I’m sure to run out of breath.

       4           Q     Do you notice that there are activities

       5    that you used to like to do that you don’t do any

       6   more because of the breathing problem?

       7           A     Well, yeah, I used to love to chase them

       8    elk and stuff, but about all I can do any more is

       9    road hunt.      I used to like to track them old smart

      10   bulls and white tails.         Excuse me.

      11           Q     Did you used to hunt pretty regularly?

      12           A     All the time.

      13           Q      How often do you hunt now?

      14           A      I hunt quite regular.    I road hunt in the

      15    car or duck hunt or something in the blind.

      16           Q      Do you ever get out and go up hills or do

      17    anything like that anymore?

      18           A      No.

      19           Q      Do you like to fish?

      20           A      Ido.

      21           Q      I have a photo here, Nick,     I would like

      22    you to describe.       That’s Exhibit 515-10.     Is that

      23    you fishing?

      24           A      Yeah,   that’s me.   I think this was

      25    probably taken on Sophie Lake.
